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  EXHIBIT 22
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                 DECLARATION OF GERALD W. KING, JR.

      Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

       l.    My name is Gerald W. “Bo” King, Jr. I am over the age of eighteen

and competent to attest to the matters in this declaration.

      2.     I am an attorney. I am currently an Assistant Federal Public Defender

for the Western District of North Carolina. I represent Richard Tipton.

      3.     On February 3, 1993, Mr. Tipton was convicted in the United States

District Court for the Eastern District of Virginia of federal crimes arising from the

distribution of “crack” cocaine in Richmond, including seven counts of capital

murder. On June 1, 1993, the district court sentenced Mr. Tipton to death and

terms of years for those convictions.

      4.     On December 23, 2024, President Joseph R. Biden commuted Mr.

Tipton’s sentences of death “to sentences of life imprisonment without the

possibility of parole, leaving intact and in effect...al! other conditions and

components of the sentences previously imposed upon [him].”

       5.    On January 7, 2025, I joined a video conference with Christopher

Synsvoll of the Bureau of Prisons in which he outlined the procedure through

which the prisoners whose sentences had been commuted would be designated to

other institutions. Mr. Synsvoll reported that the BOP would look at each prisoner

individually, including their history of adjustment to the Special Confinement Unit
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in Terre Haute (“SCU”). The unit team at the SCU would be afforded a chance to

provide input. Mr. Synsvoll directed us to provide any additional information that

should be considered in the BOP’s assessment, including any information on our

clients’ medical conditions or mental health, context for any disciplinary

infractions, and any observations about the client’s adjustment to incarceration.

Mr. Synsvoll discussed specific institutions that could provide a mental health

step-down program, including Allenwood and Atlanta. He asked us to provide

information about the physical location of the prisoner’s family members so that

BOP could identify regions or specific institutions that would facilitate their visits.

He also noted that people who had spent a considerable amount of time in the SCU

could be considered for placement in medium security more quickly.


      6.     On January 14, 2025, I met by video conference with Mr. Synsvoll

about Mr. Tipton. Mr. Synsvoll told me that Mr. Tipton was not among the

prisoners who had received an initial referral notice to the Administrative

Maximum Facility at the United States Penitentiary in Florence, Colorado

(“ADX”). Mr. Synsvoll said that the options BOP was considering for Mr. Tipton

were across the board United States Penitentiaries (USPs), and that they would

attempt to transfer him to an institution within 500 miles of his family. Mr.

Synsvoll confirmed that the BOP had designated Mr. Tipton’s medical care level at

a 2 and his mental health care level at a 1. Mr. Synsvoll noted that Mr. Tipton had

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some recent incident reports, but he characterized them as nothing major and

typical behavior for guys in a penitentiary. He also noted that Mr. Tipton had come

directly to the SCU in 1999. He said that Mr. Tipton would transition to a mainline

(i.e., open) population prison and, if he did well, could be stepped down to a

medium security prison. Mr. Synsvoll invited me to submit additional context

concerning Mr. Tipton’s incident reports for inclusion in BOP’s review and to

identify the geographic region that would put him closest to his family.

      7.     On January 16, 2025, I sent an email to Mr. Synsvoll reporting Mr.

Tipton’s hope that he would be transferred closer to his family in the state of New

York and providing additional context for his disciplinary incidents.

      8.     On January 20, 2025, President Donald J. Trump issued an executive

order directing the Attorney General to evaluate the places of imprisonment and

conditions of confinement for the men whose death sentences were commuted by

President Biden and “take all lawful and appropriate action to ensure that these

offenders are imprisoned in conditions consistent with the monstrosity of their

crimes and the threats they pose.”

      9.     On January 28, 2025, I joined a videoconference with Mr. Synsvoll in

which he said that the process for designating the commuted prisoners was now in

a “holding pattern” as a result of the Executive Order because the BOP now
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needed to present their designation plan to someone in the Office of the Deputy

Attorney General.

       10.   On February 5, 2025, the Attorney General issued a memorandum

directing the BOP to “ensure that the conditions of confinement for each of the 37

commuted murderers are consistent with the security risks those inmates present

because of their egregious crimes, criminal histories, and all other relevant

considerations.”

       11. On February 18, 2025, I had a video conference with Mr. Synsvoll. He

stated that Mr. Tipton would be referred directly into the general population at

ADxX. He stated that BOP was aiming to complete the referral process within 60

days, although he did not know if Mr. Tipton would be moved to ADX within that

period. He explained that Mr. Tipton would receive a memo seeking a referral

request to ADX along with a packet identifying his disciplinary history. Mr. Tipton

would then have a hearing, with the hearing officer making a recommendation

afterward. Mr. Tipton would then be referred to ADX. Mr. Synsvoll said that he

had not been told if ADX would be a permanent destination for Mr. Tipton or the

other prisoners whose sentences were commuted. He also reported that the

program can take as little as twenty-seven months but that on average prisoners

need about five years to advance to the transfer phase.
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       12.   On April 3, 2025, Mr. Tipton telephoned and informed me that he had

received a notice scheduling his hearing for referral to transfer to general

population at ADX on April 7, 2025. Mr. Tipton read portions of the notice to me

over the phone; it said that he was referred because he posed a risk to others and

could not be safely housed in the general population of other institutions. It also

said that his security level was high because he was a former death row prisoner

and said he was a member of a “Security Threat Group” called “Death Row

Inmates.”

       13. On April 7, 2025, Mr. Tipton telephoned and informed me that he had

attended his hearing that morning and had within hours received a decision from

the hearing officer that recommended his designation to ADX.

       1 declare under penalty of perjury that the foregoing is true and correct.

       Executed on April 11, 2025.


                                                   Ae                ee
                                       HLS:            W. King, Jr.”
